                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:12-CR-00386-RJC
USA                                               )
                                                  )
   v.                                             )                   ORDER
                                                  )
AARON M. WENS                                     )
                                                  )

        THIS MATTER is before the Court on the defendant’s motion to allow a probation

officer to adjust, modify, and tailor his house arrest supervision at her discretion. (Doc. No. 198).

        In lieu of a sentence of full incarceration for a Zone C advisory guideline range, the Court

sentenced the defendant to six months incarceration and six months home detention with location

monitoring. (Doc. No. 135: Judgment at 2-3); USSG §5C1.1(d)(2). Home detention must be

enforced by an appropriate means of surveillance, which is ordinarily electronic monitoring.

USSG §5F1.4 comment. (n.2), (backg’d). Here, the defendant has not specified what

adjustments the probation officer would be expected to make and how they would comply with

the requirements for home detention. Detention is a intended, necessary and important

component of home detention.

        IT IS, THEREFORE, ORDERED that the defendant’s motion, (Doc. No. 198), is

DENIED.



                                              Signed: March 5, 2015




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